              Case 4:06-cr-40019-JPG                     Document 627 Filed 08/16/07                  Page 1 of 6         Page ID
% A 0 2458    (Rev. 06/05) Judgment in a Criminal Case
                                                                   #1874
              Sheet 1




                        SOUTHERN                                 District o f                                ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             v.
               MICHAEL W. ATCHISON                                      Case Number:           4:06CR40019-017-JPG

                                                                        USM Number: 07299-025
                                                                         Mark Hunter
                                                                        Defendant's Attorney
THE DEFENDANT:                                                                                              FILED
dpleaded guilty to count(s)          1 of the Superseding Indictment
                                                                                                                         NU/
  pleaded nolo contendere to count(s)
  which was accepted by the court.                                                                    buRI(. U.Q. DISTRICT COURT
                                                                                                              DISTRICT OF ILUNO~S
   was found guilty on count(s)                                                                             MNToN OFFICF
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:



                                                                             -
                                   Intent to Distribute 500 Grams or More of a Mixture &



       The defendant is sentenced as provided in pages 2 through            10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United Slates anomey for this dismct within 30 da s of any change of name, rcs~dcncc.
or mailln 1 address until all fines, restitution, costs, and special assessments imposed by this~udgmentare fuhypaid. Ifordered to pay restitution,
the defenbant must notify the coun and United States attorney of material changes in economlc cucumstances.




                                                                         J. Phil Gilbert                             District Judge
                                                                        Name of Judge                               Title of Judge


                                                                                                            -7
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                                                                  #1875
A 0 245B      (Rev. 06105) Judgment in Criminal Case
              Sheet 2 -Imprisonment


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                                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 251 months (The Court sentences the defendant to 262 months, but is awarding eleven months credit for time served on
 related case number 06CF161.


     @ The court makes the following recommendations to the Bureau of Prisons:
 That the defendant be placed in the Intensive Drug Treatment Program.



     &f The defendant is remanded to the custody of the United States Marshal.
         The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial S e ~ c e Office.
                                                                   s




1have executed this judgment as follows:




           Defendant delivered on                                                          to

at                                                     , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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                                                                   #1876
A 0 2458      (Rev. 06105) Judgment in a Criminal Care
              Sheet 3 -Supervised Release


DEFENDANT: MICHAEL W. ATCHISON
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

 10 years on Count 1 of the Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall sulmit to one drug test within 1 5 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
B( The defendant shall not possess a fiream, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
B( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a f ~ ore restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o f l ~ a ~ m e nsheet
                           t s of t h s judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation off~cer;
  4)       the defendant sball support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, posbess, use, d~srnbute,or admlnister any
           controlled suhsrance or any paraphemaha related to any controlled substances, except as prcscr~bcdby a phys~cian,
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or admimstered;
  9)       the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemnsslon to do so by the profation officer;
 10)       the defendant shall pe,rmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plaln vtew of the probatron officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permissron of the court; and
 13)       as directed by the robation officer, the defendant shall notify thud panlesof risks that may be ocsasroned by the defendant's cr~rninal
           record or           hjstory or character~sricsand shall p e m t the probat~onofficer to make such not~ficat~ons    and to confiml the
           defendant s cornpl~ancew~thsuch not~ficat~on    requuement.
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A 0 2458   (Rev. 06105) Judgment in a Criminal Care
           Sheet 3C - ~u&rvisedRelease
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X While incarcsrated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account: however, if the account balance is less than $20.00, no payment shall
 be required.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
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A 0 2458   (Rev. 06105) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                #1878

DEFENDANT: MICHAEL W. ATCHISON
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                                Restitution
TOTALS             $ 100.00                                          (E 250.00                           $ 0.00



     The determination of restitution is deferred until     -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise /n
     the pnonty order or percentage payment column%elow. However, pursuant to 18 Js.8. 5 36648), all nonfederal vlchms must be p a ~ d
     before the United States is paid.

Name of Pavee                                                                                Restitution Ordered      Prioritv or Yercet~tnee




TOTALS                                $                       0.00         $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the          @ fme          restitution
           the interest requirement for the           fme         restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA,and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnl23,1998.
A 0 2458
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           (Rev. 06/05) Judgment in a Criminal Case
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           Sheet 6 -Schedule   of Payments                      #1879

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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                 , or
                 in accordance                C,       D,         E, or   @f F below; or
B          Payment to begin immediately (may be combined with             C,       IJ D, or     IJ F below); or
C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
           While on s u p e ~ i s e drelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his tine.




Unless the court has express1 ordered otherwise, if this jnd ment imposes imprisonment, a ent of criminal monetay penalties is due d u i n
unpnso-ect.      All crtnnnarmoneta penalhes, except k o s e payments made througi g ~ e d e r a Bureau
Responstbthty Program are made to x e clerk of the court.
                                                                                                    l      of Pnsons' Inmate           ina an cia
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied m the follow~ngordrr: (I asbcssment, (2) restitur~onprincipal, (3) restitution mtcrest, (4) fine pnnc~pal,
( 5 ) fine interest, (6) community restttutlon, (7) penalties: and (8) costs, ~nclud~ng
                                                                                     cost of prosecut~onand coun costs.
